




Affirmed and Memorandum Opinion filed July 16, 2009








Affirmed
and Memorandum Opinion filed July 16, 2009.

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00542-CR

&nbsp;

____________

&nbsp;

JUAN PAULO FLORES,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 337th District
Court

Harris County, Texas

Trial Court Cause No. 1123312

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to aggravated assault.&nbsp; On June 13, 2008, the trial court
sentenced appellant to confinement for ten years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp; Appellant filed a timely notice
of appeal.








Appellant=s appointed counsel filed a brief in
which he concludes this appeal is wholly frivolous and without merit.&nbsp; The
brief meets the requirements of Anders v. California, 386 U.S. 738, 87
S.Ct. 1396 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant. &nbsp;Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex.
Crim. App. 2005).

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce.

Do Not Publish C Tex. R. App. P.
47.2(b).





